       CASE 0:20-cr-00188-SRN Doc. 52 Filed 02/11/21 Page 1 of 10




                        UNITED S'l'ATES DISTRIC'l' COURT
                           DISTRIC'l' OF MINNESOTA
                             Case No. 1a.:._<-K_..j_~(£.RN)

 UNI'l'ED STATES OF A.LVlERICA,

                      Plaintiff,                    PLEA AGREEi'vIENT AND
                                                    SENTENCJNG STIPULATIONS
        v.

 GARRETT PATRICK ZIEGLER,

                    Defendant.

       The United States of America and Garrett Patrick Ziegler (hereinafter, the

"Defendant") ugTee to resolve this case on the terms and conditions that foUow. This

plea agreement binds only the Defendant and the United States Attorney's Office for

the District of iVlinnesota. This agreement does not bind any other United States

Attorney's Office 01· any other federal or state agency.

       1.    Cha:rges. The Defendant voluntal'lly agrees to plead guilty to Count 1

of the Information, w11ich clmrges the Defendant with Aiding and Abetting Arson of

Prope1·ty Used in or Affecting Interstate Commerce, in violation of 18 U.S.C. §§ 2 and

844(i). The United States agrees that it will not chal'ge the Defendant with other

crimes related to the conduct set forth herein.

      2.     Faetual Basis . .By pleacling guilty, the Defendant admits the following

facts are true ancl f-tnther admits that, were this matt<:Jr to go to tl'ial, the United

States would prove these facts beyond a reasonable doubt:

             a.     At aTI relevant times, the Defendant was a resident of and resided
                    in the State and District of lYlinnesota. The conduct described
                    herein took place in the State and District of Minnesota.




                                           1
CASE 0:20-cr-00188-SRN Doc. 52 Filed 02/11/21 Page 2 of 10




     b.   On or about May 29, 2020, the Defendant and Fornanclous Cortez
          Henderson (the "Co-defendant"), each aiding and abetLing the
          other, intentionally and maliciously damaged, by means of ihe
          and explosive materials, the Dakota County Western Se.rvice
          Center (the "WSC") located at 14955 Galaxie Avenue in Apple
          Valley, Minnesota.

     c.   Th~J Co-defendant choose the WSC as a target because he had
          p1·eviously made court appearances at that building. 1'he
          Defendant did not have any pernonal connection to the WSC, but
          agrnecl to tal'get it because of its connection to law enforcement,
          the Defendant's past negative interactions with law enforcement
          (which often related to the Defendant's mental health and did not
          result in criminal charges), his general negative impression oflaw
          enfo:rcement, and tho 1·ecen t death of Geol'ge Floyd.

    d,    From on or about May 26 through May 28, 2020, the Defendant
          recorded a series of videos, which he posted to Snap Chat, wherein
          he threatened to harm law enforcement personnel and/or
          government p1·operty and advocated that others do the same.
          Again, these videos were motivated by the Defenclani;'s past
          negative interactions with law enforcement, his general negative
          impression of law enfo1·cement, and tho recent death of George
          Floyd.

    e.    From on or about May 26 through May 28, 2020, the Defendant
          purchased or provided a munbe1· of items necessary to cany out
          the attack on the WSC. These items included, but are not limited
          to: mason jars, pushpins and other similal' shal:p objects,
          isop1·opyl alcohol, nail polish remover, bottles of high-proof
          alcohol, lighter fluid, bandanas/sca..rves, and a baseball bat. 1\!Iany
          of those items were used by tbe Co-defendant to construct Molotov
          cocktails, that is, containers filled with ig11itable liquid-some of
          which also contained sharp objects, such as pusbph1s-·r.mcl a
          wick.

    f.    In the em.'ly morning hours of May 29, 2020, the Defendant drove
          himself and the Co-defendant to the WSC. Once there, they bl'Oke
          multiple windows at the WSC using baseball bats.            The
          Defendant then assisted the Co-defendant in throwing multiple
          Molotov cocktails into tho broken windows. Some of these devices
          succossfolly ignited and caused fi.re damage to the WSC. 'l'he
          Defendant, along with th e Co-defendant, also started and
          attempted to start other :fires at the WSC by -pouring ignitable

                                 2
        CASE 0:20-cr-00188-SRN Doc. 52 Filed 02/11/21 Page 3 of 10




                      liquids, and throwing unlit Molotov cocktails, in and around the
                      broken windows, then attempting to stmt the liquids on fhe.

               g.     Responding officers quickly extinguished the fires ut the WSC.
                      Howeve1.', the Defendant's attack triggered the sprinkler system
                      and i nflicted significant fire and watel' damage to the WSC.

               h.    P1·eviously, on or about May 27, 2020, the Defendant aided and
                     abetted the Go-defendant in ca1-rying out a similf:lr attack on the
                     WSC 11sing a Molotov cocktail.                   The Defendant
                     purchased/provided the ingredients necessary for the Co-
                     defendant to make a Molotov cocktail. The Defendant then drnve
                     himself and the Co-defendant to the WSC. The Co-defendant
                     exited the vehicle and tlu·ew a single Molotov co8ktail against the
                     building, which ignited, but burned out without causing
                     significant damage. The failure of this first attack was a
                     motivating factor for the second attf.\ck on the WSC on or about
                     May 29, 2020.

              i.     At the time of the fires, the WSC was used in intei'state and
                     foreign commerce. That is to say, the WSC housed agencies and
                     organizations involved in business 01· trade taking place between
                     p0op1e or entities located in two or more states, and between
                     people and entities in the United States and other countries.
                     These agencies and organizations included, but were not limited
                     to: the Dakota Connty District Court, including courtrooms, a
                     clerk's office, and judg·es' cbambers; facilities used for U.S.
                     passport applications and processing; facilities used for voter
                     xegistl.'ation and, on ·occasion, as a polling place during elections;
                     the Dakota County Office of Planning; the Dt1kota County Office
                     of Parks; tho Dakota County Office of Public Hea]th; and the
                     Da1rnta. County Transit and 'I'ransportation Offices.

       3.     jVuive1· oflnclictment. The Defendant waives the Tight to be charged

by Indictment. The Defendant agrees to sign a written waiver of this right at or

befo:re the c_h ange of plea hearing.

       4.     Waiver of Pretrial lVJotions. 'I'he Defendant unde1·stands and agrees

that he has certain rights to file pre.tl:ial motions in this case. As pill't of this

Agreement, and based upon the concessions of the United States, the Dofonclant

                                            3
        CASE 0:20-cr-00188-SRN Doc. 52 Filed 02/11/21 Page 4 of 10




knowingly, willingly, and voluntaTily gives up the Tight to file and litigate pre-trial

motions in this case.

        5.     Waiver of Constit11tional Trial Right~. 'The Defendant understands

that he has the right to plead not guilty and go to trial. At trial, the defendant would

be presumed innocent, have the right to a jury trial or, in certain circumstances, to

trial by the Court, the right to the assistance of counsel, t;he right to confront and

cross-examine advexse witnesses, the right to subpO{ma witnesses to testify fox the;

defense, the right to testify and pl'esent evidence, and the right to be protected from

compelled self-incrimination. By JJleacling guilty, the Defendant knowingly, willingly,

and voluntaTily waives each of these rights, except tl1e right to counsel.         The

Defendant undm~stancls that by pleading guilty, he is admitting· his guilt, and, if the

Court accepts the guilty plea, the Defendant will be adjudged guilty without a trial.

       6.     Collateral Consequence~. The Defendant understands that as a

result of his conviction, ho could be assessed the costs of prosecution and expe1:ience

additional consequences, such as the loss of the right to carry firea.rms, the right to

vote, the right to hold public office, and the eligibiJity for federal benefits.

       7.     Statutory Penalties.         The pmties agtee that Count 1 of the

Information carries the following statutory penalties:

              a.     a mandatory minimum of 5 yea1·s' imprisonment;

              b.     a maximum of 20 yoars' imprisonment;

              c.     a supervised release term of up to 3 yea1·s;

              d.     a fine of up to $250,000;


                                             4
      CASE 0:20-cr-00188-SRN Doc. 52 Filed 02/11/21 Page 5 of 10




              e.     mandatory l'estitution; and

              f.     a mandatory special assessment of $100.

       8.    f-1-niclelines   Calculations.      The parties acknowled~e that the

Defendant will be sentenced in accordance with 18 U.S. C. § 3551, et seq. Nothing in

this plea agreement should be construed to limit the parties from presenting any and

all relevant evidence to the Court at sentencing. The parties also ack11owledge that

the Court will consider the United. States ScntenciTlg Guidelines in determining the

appropriate sentence and stipulate to tho following guideline calculaLions:

             a.     Base Offense Level. The pa1:ties agree that the base offense level
                    is 24 because the offense involved the destruction or attempted
                    destruction of a state or government facility. U.S.S.G.
                    § 2RJ..4(a)(l).

             h.     Cha.Pter 3 Adjustments. Othel' than acceptance o.fresponsibility,
                    discussed bGlow, the parties agl'ee that no Chapter 3 Adjustments
                    apply.

             c.     Acceptance of Responsibili1Y_. The government agrees to
                    recommend that the Defendant receive a 8-level reduction for
                    acceptance ofresponsibility and to make any appropriate motions
                    with the Court. However, the Defendant understands and agrees
                    that this recommendation is conditioned upon the following;
                    (i) the Defendant testifies truthf-ully during the change of plea
                    and sent.encing hearings, (ii) the Defendant provides complete
                    and truthful information to the Probation Office in the pre-
                    sentence investigation, and (iii.) tho Defonda11t commits no
                    fu.rther acts inconsistent with acceptance of responsibility.
                    U.S.S.G. § 3E1.1. The parties agree !;hat other than as provided
                    for hel'ein, no othel' Chapter 3 adjustments apply.

            cl.      Criminal History Category. rrhc parties believe t11at , at the time
                     of sentencing, the Defendant falls into criminal history categol',Y
                     I. 'I'his does not constitute a stipulation, but a belief based on an
                     assessment of the information cuuently known. U.S.S.0. §
                   · 4Al. l. The Defendant's actual criminal history and refa ted
                     status (which could impact the Guidelines advisory raog·e of

                                            5
            CASE 0:20-cr-00188-SRN Doc. 52 Filed 02/11/21 Page 6 of 10




                    imprisonment) will be detemdned by the Court based on the
                    information contained fa the Presentenco Report and by the
                    pa1'ties at the time of sentencing. If Defendant's criminal history
                    category is something other than I this is not a b1i.sis for either
                    party to withcb.'aw from this Plea Agreement.

               e.   Guidelines Rang_9.. If the adjusted offense level is 21, and the
                    cl'iminal history category is I, the Guiclelfaes nrnge is 36-47
                    months of imprisonment. However, because the crime of
                    conviction (arson) carries 1:1 mandatory minimum
                    sentence of five years of imprisonment, the Guidelines
                    range is adjusted to 60 months of imprisonment. 18 U.S.C.
                    § 844(i); U.S.S.G. § 5G 1. l(b)

                    The Defendant acknowledgGs and understands that his ciime of
                    conviction ca1Ties a five yeal' (60 month) mandatory
                    minimum se11tence of imprisonment. 18 U.S.C. § 844(i).

               f.   Ji'ine Rgnge. If the ac~usted offcmse level is 21, the fine range is
                    $15,000 to $150,000. U.S.S.G. § 5E1.2(c)(3).

               g.   Supervised Release. The Sentencing Guidelines require a term of
                    supervised release of between one and three years for Count 1.
                    U.S.S .G. § 5Dl.2(a)(2).

       9.      Sentencing Advocacy Agreements and Limitatio:q~.                   When

advocabng to the Court regarding the Defendant's sentence, the pai·ties agree as

follows:

               a.   Based on information known to the government at the entry of
                    this Agreement, aml assuming that the Defendnnt does not
                    engage in any co11cluct inconsistent with his acceptance of
                    responsible (as determined within the sole discretion of i;he
                    U11ited Statos), the United States agrees that it will not seek any
                    upward departure or variance from the propedy calculated
                    Guidelines range of 60 months' imprisonment.

               b.   The pai:ties jointly recommend that the Cou1t impose a three year
                    term of supervised release. They further recommend that a
                    condition of the Defendant's s11pervisocl release be that he receive
                    Emel participate in mental l1ealth counseling.


                                           6
       CASE 0:20-cr-00188-SRN Doc. 52 Filed 02/11/21 Page 7 of 10




       :t.O.   Rev9cati0IL of__iS~ryisecl     Releas~. ·'The Defendant understands
 that if he violates any condition of sup0rvised release, he could be sentenced to an

 additional term of imprisonment up to the length of the ol'i.ginal term of supervised

release, subject to the statutory maximums set forth in 18 U.S.C . § 3583.

       11.     Discretion of the Court. The foregoing stipulations and agreements

al'e binding on the pal'ties, but do not bir1d the Court. The parties understand that

the Scntencmg Guidelines are advisory and theh application is a matte1• that falls

solely within the Court's clisc1·etion. '11he Court may make its own determination

regarding the applicable Guidelines facto1·s and the Defendant's c1·iminal history

category. · The Court may also depart ancVor vary from the applicable Guidelines

rango. If the Court determines that the applicablo Guidelines calculations or the

Defendant's criminal history catego1-y are different from that stated above, the

parties may not withdxaw from this Agreement, and the Defendant will be sentenced

pmsuant to the Court's determinations.

       12.     ~ i a ] Asse 9sment. The Guidelines l'equire payment of a special

assessment in the amount of $100.00 for each felony count of which l1e is convicted.

U.S .S.G. ~ 5E1.3. The Defe11dant agrees to pay the special assessment, which is d\le

and payable upon sentencing.

      18.      Conseut to VTC Proceedings and Consolidated G1.1iltx_Xlcf!

a..ncl Sentencing Process. The Defendant understands his right to Rttencl certain

p1·oceedings in court, inc.luding a plea hearing and a sentencing hearing, pursnan~ to

Rule 11 and Rn1e 32 of the Federal Rules of Cximinal Procedure, respectively.


                                          7
       CASE 0:20-cr-00188-SRN Doc. 52 Filed 02/11/21 Page 8 of 10




 Nonetheless, the Defendant consents to n consolidatod guilty plea and sentencing

process. As part of this process, the Defendant unde1·stands that a presentence 1·eport

("PSR") will be pl'epared by the United States Probation Office before the enfry of his

guilty plea . This report will contain the information required un1er Rulo 32 of the

.F ederal Rules of Criminal Procedure. 'l'he Defendant further unde1'stands that he

will he required to submit any objections to the PSR 01· any mntteTS relovant to the

Court's determination of his sentence at    01·   before the time of his consoli.dated guilty

plea and sentencing hearing. The Defendant expressly waives his right to appeal the

manner in which his sentence will be imposed uncle1· these p1•ocedures. F·urthermme,

should COVTD-19 or other JTublic healt11 considerations prevent the consolidated

change of plea and sentencing hearing from being held in-person, the Defendant

consents to such a hearing being held via video-teleconfernnce ("VTC").

       14.    Restitution. The Defendant \.mde:rstands and agl.'ees that 18 U.S.C, §

3663, and the Mandatory Victim Restitution Act, 18 U.S.C. § 3663A, apply to tliis

case an d that the Court is required to order the Defendant to make restitution to the

victims of his crimes. The Defendant also ag:l.'ees that he is jointly and seven1lly liable

with the co-defendant, Fornandous Cortez Henderson, for any amount of xestitution

ordered by the Court.

      15.    Fo1•feiturc.    The Defendant agl'ees to forfeit to the United States,

pursuant to 18 U.S.C. § 982(a)(2)(B), any property constituting, ox derived from,

prnceeds obtained, directly or indirectly, as a result of his violation of 18 U.S.C. §§ 2

and 84t1(i),·and pursuant to 18 U.S.C. § 844(c) and 28 .U.S.C. § 246l(c), any explosive


                                            8
        CASE 0:20-cr-00188-SRN Doc. 52 Filed 02/11/21 Page 9 of 10




materials involved, or used, o:r. intended to be used, in that violation. The United

States reserves its right to seek a money judgment forfeiture, to forfeit substitute

assets, and to forfeit any additional directly fol'.feitable property.

        16.    FOIA Waiver. The Defendant knowingly, willingly, and voluntaTily

waives all rights to obtain, dfrectly or th.rot1gh othern, information about the

investigation and prosecution of this cmm under the .F'reedom of Information Act and

t1ie P1·ivacy Act of 19711, 5 U.S.C. §§ 552, 552A.

        1'7.   Complete Agreemellt.        TJ1is, and any agreements s'ignecl by the

pai'ties before e11try of the plea, is the entire agreement and understanding between

tho United States and the Defendant. Other than this Ag1·eement, the Dflfendant

acknowledges Lhat no threats, promises, or representations have caused hirn to plead

guilty. The Defendant has rel1d this Agreement and carei'uliy reviewed oach provision

with his at torney. The Defendant furthe1· acknowledges that he understands and

voluntarily accepts each tel'm and condition of this Ag1·eement.


                                                ERICA H. MacDONALD
                                                United States Attorney             ,


Date:   [{/    Z&'/ 2020
                                                 ~~-
                                                ALJJ:XANDER D.; olNE
                                                Assistant United States Attorney



:Oate:gjJJ/202..0                                ~
                                                GARRETT PATRICK ZIEGLER
                                                Defendant




                                            9
CASE 0:20-cr-00188-SRN Doc. 52 Filed 02/11/21 Page 10 of 10




                                    GARRY, E- Q. - - - -
                              ,ounsel for Garre t Patrick Ziegler




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